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 4   Attorney for Defendant
     BINH LAM
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:11-CR-00056 LKK
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   ALEX LIAO, et al.,
14                                 Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff;
18   Michael E. Hansen, attorney for defendant Binh Lam; Matthew Scoble, attorney for defendant
19   Alex Liao; and Dwight Samuel, attorney for defendant Ken Wong, that the previously-
20   scheduled status conference date of July 10, 2012, be vacated and the matter set for status
21   conference on September 18, 2012, at 9:15 a.m.
22          This continuance is requested to allow counsel additional time to review discovery with
23   the defendants, to examine possible defenses and to continue investigating the facts of the case.
24          The Government concurs with this request.
25          Further, the parties agree and stipulate the ends of justice served by the granting of such
26   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
27   that time within which the trial of this case must be commenced under the Speedy Trial Act
28   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to


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 1   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
 2   stipulation, July 6, 2012, to and including September 18, 2012.
 3           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 4           IT IS SO STIPULATED.
 5   Dated: July 6, 2012                                   Respectfully submitted,
 6                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 7                                                         Attorney for Defendant
                                                           BINH LAM
 8
     Dated: July 6, 2012                                   /s/ Michael E. Hansen for
 9                                                         MATTHEW SCOBLE
                                                           Attorney for Defendant
10                                                         ALEX LIAO
11   Dated: July 6, 2012                                   /s/ Michael E. Hansen for
                                                           DWIGHT SAMUEL
12                                                         Attorney for Defendant
                                                           KEN WONG
13
     Dated: July 6, 2012                                   BENJAMIN B. WAGNER
14                                                         United States Attorney
15                                                         By: /s/ Michael E. Hansen for
                                                           TODD LERAS
16                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
17
18                                               ORDER
19           The Court, having received, read, and considered the stipulation of the parties, and
20   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
21   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
22   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
23   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
24   specifically finds that the failure to grant a continuance in this case would deny defense
25   counsel to this stipulation reasonable time necessary for effective preparation, taking into
26   account the exercise of due diligence. The Court finds that the ends of justice to be served by
27   granting the requested continuance outweigh the best interests of the public and the defendants
28   in a speedy trial.


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 1          The Court orders that the time from the date of the parties’ stipulation, July 6, 2012, to
 2   and including September 18, 2012, shall be excluded from computation of time within which
 3   the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.
 4   section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to prepare).
 5   It is further ordered that the July 10, 2012, status conference shall be continued until
 6   September 18, 2012, at 9:15 a.m.
 7          IT IS SO ORDERED.
 8   Dated: July 6, 2012
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     Stipulation and Order to Continue Status Conference
